Case 1:16-cv-00883-RJJ-PJG ECF No. 165 filed 07/19/18 PageID.811 Page 1 of 1



United States District Court
Western District of Michigan
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                               1:16−cv−00883
                               Shaffer v. Kalamazoo County Sheriff Department et al




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